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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

VALLEY LODGE CORP.,

                           Plaintiff,

          v.                                             Case No.: 20 cv 2813

SOCIETY INSURANCE, a Mutual Company,                     Honorable John J. Tharp, Jr.

                           Defendant.                    Magistrate Judge Jeffrey Cummings




               PLAINTIFF’S STATEMENT OF ADDITIONAL FACTS PURSUANT
                              TO LOCAL RULE 56.1(b)(3)(C)

          Plaintiff, VALLEY LODGE CORP. d/b/a THE VALLEY LODGE, by and through its

attorneys, CLIFFORD LAW OFFICES, P.C., submits this statement of additional material facts

pursuant to Local Rule 56.1(b)(3)(C). In support, Plaintiff states as follows:

         1.      Dr. Erik Richard Dubberke is a medical doctor, board certified in internal medicine

and infectious disease. See Declaration of Erik Dubberke attached hereto as Exhibit 1, ¶¶ 1-3.

          2.     Dr. Dubberke’s formal education is in biology (B.A.), medicine (M.D.) and public

health (M.S.P.H.) with expertise in epidemiology. Id. at ¶ 4.

          3.     Dr. Dubberke is currently a Professor of Medicine in the Infectious Diseases

Division of the Department of Medicine at the Washington University School of Medicine. Id. at

¶ 5.

          4.     Dr. Dubberke is currently engaged in direct care for patients with infectious disease

and conducts research. Dr. Dubberke is the hospital epidemiologist at Missouri Baptist Medical

Center and an associate hospital epidemiologist at Barnes-Jewish Hospital. He is involved in
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decisions to prevent SARS-CoV-2 transmission in the healthcare setting to other patients and

healthcare workers at both institutions. He is also involved in a project to model different

approaches to prevent COVID-19 to determine the impact they have on utilization of healthcare

resources. Id. at ¶ 6.

          5.    Dr. Dubberke regularly          shares within his profession his clinical         and

epidemiological knowledge and expertise. In addition to his professorship and clinical work, he

serves as editor for several professional journals and has authored several chapters, articles and

papers. He is frequently invited to present on topics in infectious disease and epidemiology, and

has done so at conferences, seminars and universities all over the world. Id. at ¶ 7.

          6.    Dr. Dubberke’s education, training and experience is more fully set forth in his C.V.

and forms the foundation of his career and expertise in infectious disease and epidemiology. Id.

at ¶ 8.

          7.    Dr. Dubberke is frequently consulted for his expertise in infectious disease and

epidemiology. Occasionally, he is retained as an expert in medical-legal matters, and he has been

retained by the Plaintiff in this matter. Id. at ¶ 9.

          8.    Dr. Dubberke has, from time to time, testified in both state courts and federal court.

He has never been barred or limited in his testimony. Id. at ¶ 10.

          9.    Dr. Dubberke has received from Plaintiff’s counsel, and reviewed, all pleadings and

exhibits filed to date in this matter. Id. at ¶ 11.

          10.   Dr. Dubberke has also consulted public health data, namely, CDC, WHO, Hopkins

COVID site, COVID act now website; and he regularly keeps track of the St. Louis County and

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St. Louis City COVID data and the COVID data at the hospitals where he is hospital

epidemiologist. Id. at ¶ 12.

        11.    Additional materials Dr. Dubberke considered include:
    a. Pastorino B, Touret F, Gilles M, de Lamballerie X, Charrel RN. Prolonged Infectivity of
       SARS-CoV-2 in Fomites. Emerg Infect Dis. 2020;26(9).

    b. Van Doremalen N, Bushmaker T, Morris DH, Holbrook MG, Gamble A, Williamson BN,
       et al. Aerosol and surface stability of SARS-CoV-2 as compared with SARS-CoV-1. N
       Engl J Med. 2020;382:1564-7.

    c. Taskforce for the COVID-19 Cruise Ship Outbreak, Yamagishi T. Environmental sampling
       for severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) during a coronavirus
       disease (COVID-19) outbreak aboard a commercial cruise ship (pre-print). MedRxiv.
       2020.

    d. Guo Z-D, Wang Z-Y, Zhang S-F, Li X, Li L, Li C, et al. Aerosol and Surface Distribution
       of Severe Acute Respiratory Syndrome Coronavirus 2 in Hospital Wards, Wuhan, China,
       2020. Emerg Infect Dis. 2020;26(7).

    e. Santarpia JL, Rivera DN, Herrera V, Morwitzer MJ, Creager H, Santarpia GW, et al.
       Transmission potential of SARS-CoV-2 in viral shedding observed at the University of
       Nebraska Medical Center (pre-print). MedRxiv. 2020 doi: 10.1101/2020.03.23.20039446.


Id. at ¶ 13.

        12.    The purpose of Dr. Dubberke’s work in this matter was to review the clinical and

epidemiological assertions made by Defendant in relation to the coronavirus and covid-19, and to

provide clarification on the physical presence of SARS-CoV-2. Id. at ¶ 14.

        13.    The scope of his work included a review of the validity and accuracy of Defendant’s

assertions about the features and characteristics of the coronavirus. In addition, Dr. Dubberke was

asked to provide clarification on the characteristics of the coronavirus and its spread and presence

in the community, particularly at the time of its onset in the metro Chicago region. Id. at ¶ 15.

        14.    Severe    acute respiratory    syndrome     coronavirus    2   (SARS-CoV-2) is       a

betacoronavirus that is genetically related to several other zoonotic coronaviruses, including

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SARS-CoV-1, the etiological agent of SARS. SARS-CoV-2 causes coronavirus disease 2019

(COVID-19) in humans. SARS-CoV-2 has glycoprotein “spikes” that are able to bind to human

angiotensin converting enzyme 2 (ACE-2) receptors, which is present on human respiratory

epithelial cells. After binding to ACE-2, the virus is able to enter the cells and make copies of

itself, which are then released. These released infectious viral particles are then expelled in

respiratory secretions as respiratory droplets during coughing, sneezing, talking, and singing.

These respiratory droplets can infect other people either directly, through direct contact with

respiratory mucosal surfaces, or indirectly, by contaminating surfaces which are then touched by

another person who subsequently touches her or his mouth, nose, or eyes. Id. at ¶ 16.

       15.     The virus exists and is physically present in communal areas as indicated by

elevated infection rates. Below is a photo of the virus on a surface, made possible with electron

microscopy. The virus has been isolated in laboratory and research settings, and can be identified

in those settings with several features and marked characteristics, namely, its spikes for which it

is named. Id. at ¶ 17.




                         Source: NIH




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           16.   SARS-CoV-2 is transmitted by respiratory droplets containing virus particles.

Modes of human-to-human transmission for SARS-CoV-2 include contact, droplet, airborne, and

fomites. It is less clear if it is transmitted by fecal-oral, bloodborne, or in utero mother-to-child. Id.

at ¶ 18.

           17.   The virus is indirectly transmitted when a host touches a contaminated object or

surface that is contaminated with the SAR-CoV-2 virus (i.e., fomite transmission). The virus can

survive on hard and soft surfaces for a period of time ranging from a few hours to a few days. See

Pastorino B, Touret F, Gilles M, de Lamballerie X, Charrel RN. Prolonged Infectivity of SARS-

CoV-2 in Fomites. Emerg Infect Dis. 2020;26(9); Van Doremalen N, Bushmaker T, Morris DH,

Holbrook MG, Gamble A, Williamson BN, et al. Aerosol and surface stability of SARS-CoV-2 as

compared with SARS-CoV-1. N Engl J Med. 2020;382:1564-7. Id. at ¶ 19.

           18.   Short-range aerosol transmission, particularly in crowded and inadequately

ventilated spaces over a prolonged period of time with infected persons, is believed to be a

common mode of transmission in crowded settings. However, infection clusters suggest that

droplet and fomite transmission also explain transmission amongst humans. (See Taskforce for the

COVID-19 Cruise Ship Outbreak, Yamagishi T. Environmental sampling for severe acute

respiratory syndrome coronavirus 2 (SARS-CoV-2) during a coronavirus disease (COVID-19)

outbreak aboard a commercial cruise ship (pre-print). See MedRxiv. 2020; Guo Z-D, Wang Z-Y,

Zhang S-F, Li X, Li L, Li C, et al. Aerosol and Surface Distribution of Severe Acute Respiratory

Syndrome Coronavirus 2 in Hospital Wards, Wuhan, China, 2020. Emerg Infect Dis. 2020;26(7);

Santarpia JL, Rivera DN, Herrera V, Morwitzer MJ, Creager H, Santarpia GW, et al. Transmission

potential of SARS-CoV-2 in viral shedding observed at the University of Nebraska Medical Center

(pre-print). MedRxiv. 2020 doi: 10.1101/2020.03.23.20039446.) Id. at ¶ 20.



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        19.     The coronavirus guidance from the CDC has been the subject of rigorous challenge

and discussion in the medical community, particularly amongst infectious disease specialists. CDC

guidance or commentary is not universally accepted as the gold standard of infection control.

Importantly, the CDC throughout its website places qualifiers and limitations on its suggestions,

frequently deferring to local and state government guidance, including in supplying guidance to

restaurants. (see https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/busin ess-

employers/bars-restaurants.html, accessed Aug. 8, 2020). CDC guidance and commentary is one

government source of information the public may consult. Id. at ¶ 21.

        20.     Citing a CDC publication, Guidance For Cleaning And Disinfecting Public Spaces,

Workplaces, Businesses, Schools, And Homes, Defendant contends that “the virus that causes

COVID-19 can be removed from surfaces using soap and water.” (See Dkt. 18, para. 2). Defendant

also states that “the virus that causes COVID-19 can be destroyed on surfaces using a number of

ordinary household disinfectants, including bleach.” (See Dkt. 18, para. 3). Id. at ¶ 22.

        21.     While it is true that soap and water can reduce the risk of transmission, and also

true that certain disinfectants when properly applied to the virus can destroy the virus, the virus

and the disinfectants cited have features that do not allow these two efforts to consistently and

reliably eradicate the virus in a public space. Id. at ¶ 23.

        22.     Nonetheless, the virus, while imperceptible to the human eye without enhancement,

is undeniably present on objects and surfaces where infected humans congregate. The object and

surface are, essentially, rendered useless, in that they should not be handled while virus is present.

Id. at ¶ 24.

        23.     The virus cannot be observed by the human eye without enhancement. No one can

see the virus on one’s hands or on a surface. This, of course, makes it difficult to eliminate the



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virus, or eradicate its transmission, with soap and water or even the use of a proper bleach solution.

The presence of the virus is only observed through the infection rate. The infection rate in the

Chicago metro region has been well documented from March through the present, with particular

intensity in March, April and May. Id. at ¶ 25.

         24.     In a public setting, such as a restaurant, merely applying bleach to hard surfaces, as

Defendant suggests, may reduce but does not altogether eliminate the risk of transmission amongst

restaurant staff and patrons. In other words, disinfection may temporarily eliminate a virus that

was present prior to disinfection; however, a surface may immediately become contaminated

thereafter if an infected person is present in the area. Further, the challenges of keeping a restaurant

free from virus contamination extend beyond disinfection because people will necessarily need to

remove their masks when eating and drinking, and thus, infected people will continuously emit

infectious viral particles to others. This fact was demonstrated in Guangzhou, China, in early 2020,

when the transmission of the coronavirus was observed amongst restaurant patrons. (See Lu J, Gu

J, Li K, et al. COVID-19 Outbreak Associated with Air Conditioning in Restaurant, Guangzhou,

China,         2020.     Emerging        Infectious      Diseases.       2020;       26(7):1628-1631.

doi:10.3201/eid2607.200764.). In that study, it was determined that the air flow of the restaurant’s

HVAC system contributed to the spread of the virus. Id. at ¶ 26.

         25.     Moreover, the reliability of bleach is challenged by the fact that it is easily

inactivated by organic material; requires time ranging from 10 minutes to 60 minutes to disinfect

against the virus; and, is rendered useless if not mixed in the correct ratio. (See Infection Prevention

and Control of Epidemic- and Pandemic-Prone Acute Respiratory Infections in Health Care.

Geneva: World Health Organization; 2014. Annex G, Use of disinfectants: alcohol and bleach.).

Id. at ¶ 27.



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        26.     An object or surface should not be used during the disinfection process. The

presence of the virus, whether circulating or stagnant, has changed the object, surface or premises,

in that it has become dangerous to handle and cannot be used. Its use can only be restored with

remedial action, as suggested by the CDC and other infectious disease experts. Either a prolonged

passage of time, or a precise cleaning and disinfection plan, must be applied to the surface or

premises to restore its safe use. Id. at ¶ 28.

        27.     Irrespective of whether the virus can be eliminated or its quantity reduced by

adequate handwashing or properly applied disinfectants, it must be noted that the virus, observable

only through microscopy and reflected by the public transmission rates, does physically exist and

will survive on hard and soft surfaces, especially “high-touch” surfaces. The virus can remain

viable and infectious in aerosols for hours and on surfaces up to days. (See Aerosol and Surface

Stability of SARS-CoV-2 as Compared with SARS-CoV-1, N Engl J Med 382; 16 nejm.org, April

16, 2020). The virus may spread to hands from a contaminated surface and then to the nose or

mouth, causing infection. Notably, disinfection of a contaminated surface is temporary and will

easily become contaminated when the virus is reintroduced to the surface, and this contaminated

surface will provide a constant modality for indirect infection to people. Id. at ¶ 29.

        28.     The virus’ presence in a community, evidenced by infection rates, makes it more

probably true than not, that live virus has been transferred to objects and surfaces. When an object

or surface contains live virus, the virus is physically present on surfaces and objects, but

imperceptible to the human eye. Nevertheless, the objects and surfaces should not be used. The

transmission of the virus can occur through touching surfaces or objects contaminated with virus

from an infected person (e.g. flatware, table, chair, door handle, menu, cash register, toilet, faucet),

mostly when followed by touching the mouth, nose, or eyes. Id. at ¶ 30.



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       29.     Transmission of COVID-19 may occur when a susceptible person has contact with

live virus present on an object or surface, and the person then introduces the virus to its system,

usually by touching one’s nose or mouth. With fomite transmission, the virus is physically present

on a surface or object and the object or surface require a remedial response. Id. at ¶ 31.

       30.     Fomite transmission is one basis for social distancing, hand-washing, stay-at-home

orders, home-shelter orders, distance learning, reduced capacity and/or occupancy limits, and other

measures implemented in various executive orders, including the order entered in the State of

Illinois. The virus is physically present in the community, including on objects and surfaces.

Fomite transmission is real, and due to constant recontamination of surface areas, it is simply

impossible to entirely eradicate the virus from such surfaces. Id. at ¶ 32.

       31.     Reducing capacity in public settings is one way to reduce the presence of virus on

objects and surfaces and, therefore, reduce the risk of transmission, especially during times of

rising infection rates, such as what the Chicago metro area experienced in the Spring. Wearing

masks reduces, but does not eliminate, the likelihood of virus being transferred to objects and hard

surfaces. However, in a restaurant setting, where masks cannot be worn while eating and drinking,

the likelihood of virus being transferred to objects and surfaces is increased. This is true even if

patrons and staff are asymptomatic. Id. at ¶ 33.

       32.     Even with cleaning and disinfecting, the presence of virus on objects and surfaces,

though reduced, cannot be reliably eliminated because these surfaces will continue to become

contaminated as people spread the virus throughout their dining experience (i.e., drinking and

eating without a mask and touching nose or mouth and contacting surface areas). The only way to

ensure the absence of virus on objects and surfaces is to prevent access to an environment,

especially an indoor environment with full capacity. Id. at ¶ 34.



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       33.     There is presently no ability for a lay person to determine that the virus has been

entirely eliminated from objects and surfaces in an environment populated by people. At the

relevant time, the most reputable method of reducing transmission and infection rates (which was

the purpose of the executive order) was to reduce the opportunities for the virus to be circulated in

public environments. This included reducing opportunities for person-to-person transmission, as

well as reducing opportunities for the virus to be transferred to objects and surfaces, i.e., fomite

transmission opportunities. Id. at ¶ 35.

       34.     In July 2006, Insurance Services Office (“ISO”), a nonprofit corporation the

members of which are insurance companies, circulated a specific virus exclusion recognizing the

potential for coverage due to loss resulting from virus or bacteria. See ISO Circular, “New

Endorsements Filed To Address Exclusion Of Loss Due To Virus Or Bacteria.” (July 6, 2006)

attached hereto as Exhibit 2.



                                                      Respectfully submitted,

                                                      VALLEY LODGE CORP.

                                                      By:    /s/    Shannon M. McNulty
                                                      Richard F. Burke, Jr.
                                                      RFB@cliffordlaw.com
                                                      Shannon M. McNulty
                                                      SMM@cliffordlaw.com
                                                      James C. Pullos
                                                      JCP@cliffordlaw.com
                                                      CLIFFORD LAW OFFICES, P.C.
                                                      120 N. LaSalle Street, Suite 3100
                                                      Chicago, IL 60602
                                                      (312) 899-9090

                                              Attorneys for Plaintiff
                                 CERTIFICATE OF SERVICE




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       I, Shannon M. McNulty, an attorney, hereby certify that on August 10, 2020, I served the
above and foregoing PLAINTIFF’S STATEMENT OF ADDITIONAL FACTS PURSUANT TO
LOCAL RULE 56.1(b)(3)(C), by causing a true and accurate copy of such papers to be filed and
served on all counsel of record via the Court’s CM/ECF electronic filing system.


                                            By:     /s/    Shannon M. McNulty
                                                    Richard F. Burke, Jr.
                                                    RFB@cliffordlaw.com
                                                    Shannon M. McNulty
                                                    SMM@cliffordlaw.com
                                                    James C. Pullos
                                                    JCP@cliffordlaw.com
                                                    CLIFFORD LAW OFFICES, P.C.
                                                    120 N. LaSalle Street, Suite 3100
                                                    Chicago, IL 60602
                                                    (312) 899-9090

                                                    Attorneys for Plaintiff




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